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     Guido Saveri (22349)
 1      guido@saveri.com
 2   R. Alexander Saveri (173102)
        rick@saveri.com
 3   Geoffrey C. Rushing (126910)
        grushing@saveri.com
 4   Cadio Zirpoli (179108)
        cadio@saveri.com
 5   Travis L. Manfredi (281779)
 6      travis@saveri.com
     SAVERI & SAVERI, INC.
 7   706 Sansome Street
     San Francisco, CA 94111
 8   Telephone: (415) 217-6810
     Facsimile: (415) 217-6813
 9

10   Lead Counsel for the Direct Purchaser Plaintiffs

11
                                 UNITED STATES DISTRICT COURT
12
                               NORTHERN DISTRICT OF CALIFORNIA
13
                                      SAN FRANCISCO DIVISION
14
     IN RE: CATHODE RAY TUBE (CRT)                   Master File No. CV- 07-5944-SC
15   ANTITRUST LITIGATION
     ____________________________________            MDL No. 1917
16   This Document Relates to:
                                                     DECLARATION OF R. ALEXANDER
17   Crago, d/b/a Dash Computers, Inc., et al. v.    SAVERI IN SUPPORT OF FINAL
                                                     APPROVAL OF CLASS ACTION
     Mitsubishi Electric Corporation, et al., Case   SETTLEMENTS WITH THOMSON
18   No. 14-CV-2058 (SC).                            DEFENDANTS
19
                                                     Date:      October 23, 2015
20                                                   Time:      10:00 a.m.
                                                     Judge:     Honorable Samuel Conti
21                                                   Courtroom: 1

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     DECL. OF R. ALEXANDER SAVERI ISO OF FINAL APPROVAL OF CLASS ACTION SETTLEMENTS WITH
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 1   I, R. Alexander Saveri, declare:

 2          1.       I am a partner with Saveri & Saveri, Inc., Lead Counsel for Direct Purchaser

 3   Plaintiffs in this litigation. I am a member of the Bar of the State of California and an attorney

 4   admitted to practice in the Northern District of California. I make this Declaration in Support of

 5   Plaintiffs’ Motion for Final Approval of Class Action Settlement with Defendants Thomson SA

 6   (now known as Technicolor SA) and Thomson Consumer Electronics, Inc. (now known as

 7   Technicolor USA, Inc.) (collectively “Thomson”); and Technologies Displays Americas LLC

 8   (formerly known as Thomson Displays Americas LLC) (“TDA”) (collectively “Settling

 9   Defendants” or “Thomson Defendants”). In accord with the Settlement Agreement, the inclusion of

10   both Thomson and TDA among Thomson Defendants is not to be construed to suggest, for

11   purposes of this Action or any related proceedings, that Thomson and TDA are in any way related

12   entities, have any authority to speak on behalf of the other, or share liability of defenses for any

13   alleged conduct of the other. Except as otherwise stated, I have personal knowledge of the facts

14   stated below.

15          2.       Attached hereto as Exhibit 1 is the Settlement Agreement dated February 6, 2015

16   between Plaintiffs and Thomson (“Thomson Settlement Agreement”). The settlement

17   memorialized in the Thomson Settlement Agreement is referred to herein as the “Thomson

18   Settlement.” To date, settlements with the Chunghwa Defendants, the Philips Defendants, the

19   Panasonic Defendants, the LG Defendants, the Toshiba Defendants, the Hitachi Defendants, and

20   the Samsung SDI Defendants have been finally approved by the Court.

21          3.       This multidistrict litigation arises from an alleged conspiracy to fix prices of

22   Cathode Ray Tubes (“CRTs”). In November of 2007, the first direct purchaser plaintiff filed a class

23   action complaint on behalf of itself and all others similarly situated alleging a violation of Section 1

24   of the Sherman Act, 15 U.S.C. § 1, and Section 4 of the Clayton Act, 15 U.S.C. § 15. Thereafter,

25   additional actions were filed in other jurisdictions. The Judicial Panel on Multidistrict Litigation

26   (“JPML”) transferred all related actions to this Court on February 15, 2008. Dkt. No. 122; On May

27   9, 2008, Saveri & Saveri, Inc. was appointed Interim Lead Class Counsel for the nationwide class

28   of direct purchasers. Dkt. No. 282.
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 1          4.      On March 16, 2009, Plaintiffs filed the Consolidated Amended Complaint (“CAC”)

 2   alleging an over-arching horizontal conspiracy among the Defendants and their co-conspirators to

 3   fix prices for CRTs and to allocate markets and customers for the sale of CRTs in the United States

 4   from March 1, 1995 through November 25, 2007 (the “Class Period”). The CAC alleges that

 5   Plaintiffs and members of the Class are direct purchasers of CRTs and/or CRT Finished Products

 6   from Defendants and/or their subsidiaries and were injured because they paid more for CRTs

 7   and/or CRT Finished Products than they would have absent Defendants’ illegal conspiracy. CAC

 8   ¶¶ 213–221; Plaintiffs seek, inter alia, treble damages pursuant to Section 4 of the Clayton Act, 15

 9   U.S.C. §§ 15 and 22. CAC at p. 47;

10          5.      Defendants filed several motions to dismiss the CAC on May 18, 2009. See Dkt.

11   Nos. 463–493; On March 30, 2010, this Court entered its Order approving and adopting Judge

12   Legge’s previous ruling and recommendations granting in part and denying in part Defendants’

13   Motion to Dismiss. Dkt. No. 665; On April 29, 2010, Defendants answered the CAC.

14          6.      On March 12, 2010, after the partial stay of discovery was lifted, Plaintiffs

15   propounded their Second Set of Document Requests and First Set of Interrogatories. On October

16   27, 2011, after extensive meet and confers and several motions to compel, the Court issued its

17   Report Regarding Case Management Conference No. 4 in which it set the middle of December,

18   2011 as the deadline for the completion of substantial discovery by all parties. Dkt. Nos. 1007,

19   1008; Plaintiffs have now received over 5 million pages of documents produced by Defendants.

20          7.      On March 21, 2011, pursuant to FRCP 11, certain Defendants moved to strike

21   allegations of a finished product conspiracy from the CAC. Dkt. No. 880; After a hearing, the

22   Special Master recommended that the motion be granted and that Plaintiffs’ allegations of a

23   finished products conspiracy be stricken from the complaint. Dkt. No. 947; The Special Master

24   also recommended that “the issue of the possible impact or effect of the alleged fixing of prices of

25   CRTs on the prices of Finished Products shall remain in the case, and is a proper subject of

26   discovery.” Dkt. No. 947 at 14;

27          8.      On June 29, 2011, Defendants moved the Court to adopt the Special Master’s

28   Report and Recommendation (Dkt. No. 953), and Plaintiffs filed an objection (Dkt. No. 957). The
                                                  2
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 1   Court set the matter for hearing on September 2, 2011. Dkt. No. 968; Prior to the hearing, on

 2   August 26, 2011, the parties entered into a stipulation providing, among other things: (1) that the

 3   Special Master’s recommended finding that Plaintiffs violated Rule 11 be vacated; (2) that certain

 4   other aspects of the Special Master’s recommendations be adopted; and (3) that Plaintiffs’

 5   “allegations of the Direct CAC purporting to allege a conspiracy encompassing Finished Products

 6   are Stricken from the Direct CAC, provided, however, that the issue of the possible impact or

 7   effect of the alleged fixing of prices of CRTs on the prices of Finished Products shall remain in the

 8   case.” Plaintiffs agreed to withdraw discovery requests regarding the CRT Finished Product

 9   Conspiracy claims. Defendants agreed that the issue of the impact of the CRT conspiracy on the

10   prices of the Finished Products would remain in the case. Dkt. No. 996;

11          9.      On December 12, 2011 Defendants moved for Summary Judgment against Plaintiffs

12   who purchased CRT Finished Products only. Dkt. No. 1013; Plaintiffs and the Direct Action

13   Plaintiffs (“DAPs”) opposed the motion. On March 20, 2012, Judge Legge heard argument from all

14   parties. On May 31, 2012, the Special Master issued his Report and Recommendation that the

15   Court grant Defendants’ motion for summary judgment and that judgment be entered against

16   certain plaintiffs that purchased CRT Finished Products from defendants (“R&R”). Dkt. No. 1221;

17          10.     The parties filed briefs in support and in opposition to adoption of the R&R. On

18   November 29, 2012, the Court entered the Order Granting in Part and Denying in Part Defendants’

19   Joint Motion for Summary Judgment (Dkt. No. 1470) (“Order”); The Court found that Plaintiffs

20   that purchased a Finished Product, were “in fact indirect purchasers for purposes of antitrust

21   standing.” Order at 6; The Court further found that one of the three exceptions that permit indirect

22   purchasers to pursue private treble-damages claims, outlined by the Ninth Circuit Court of Appeals

23   in In re ATM Fee Antitrust Litig., 686 F.3d 741 (9th Cir. 2012), could apply to Plaintiffs. The Court

24   ruled that the “Ownership and Control Exception” created in Royal Printing Co. v. Kimberly-Clark

25   Corp., 621 F.2d 323 (9th Cir. 1980), conferred standing on Plaintiffs to sue “insofar as they

26   purchased [Finished Products] incorporating the allegedly price-fixed CRTs from an entity owned

27   or controlled by any allegedly conspiring defendant.” Order at 16; Certain defendants filed a

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 1   motion under 28 U.S.C. section 1292(b) requesting that the Court certify the Order for

 2   interlocutory appeal. Dkt. No. 1499; The Court denied defendants’ request. Dkt. No. 1569;

 3          11.     As the case progressed against the Defendants, Plaintiffs developed evidence that

 4   they believed established that two additional corporate groups—Mitsubishi and Thomson—also

 5   participated in the alleged conspiracy. DPPs had tolling agreements with each group which had

 6   been entered into in 2008.

 7          12.     On May 20, 2014, Plaintiffs filed their First Amended Direct Purchaser Plaintiffs’

 8   Class Action Complaint Against Mitsubishi, Thomson, and TDA (“Mitsubishi/Thomson

 9   Complaint”). Crago, d/b/a Dash Computers, Inc., et al. v. Mitsubishi Elec.Corp., et al., Case No.

10   14-CV-2058 (SC) (N.D. Cal.) (Dkt. No. 14-3). Plaintiffs filed a motion for class certification on

11   November 7, 2014. After the motion was filed, Plaintiffs and the Thomson Defendants reached the

12   settlement before the Court. On July 8, 2015, after full briefing, the Court granted DPPs’ motion

13   for class certification against Mitsubishi. Dkt. No. 3902. DPPs’ motion to authorize notice to the

14   class (Dkt. No. 3944) is pending.

15          13.     On October 19, 2012, the Court granted final approval of the first two settlements

16   reached in DPP’s initial case with: (1) Chunghwa Picture Tubes, Ltd. and Chunghwa Picture Tubes

17   (Malaysia) Sdn. Bhd. (“CPT”) ($10 million), and (2) Koninklijke Philips Electronics N.V., Philips

18   Electronics North America Corporation, Philips Electronics Industries (Taiwan), Ltd., and Philips

19   Da Amazonia Industria Electronica Ltda. (“Philips”) ($15 million).

20          14.     On December 27, 2012, the Court granted final approval of a third settlement with

21   Panasonic Corporation (f/k/a Matsushita Electric Industrial Co., Ltd.), Panasonic Corporation of

22   North America, and MT Picture Display Co., Ltd., (“Panasonic”) for $17.5 million.

23          15.     On April 1, 2013, the Court granted final approval of a fourth settlement with

24   defendants LG Electronics, Inc., LG Electronics USA, Inc., and LG Electronics Taiwan Taipei Co.,

25   Ltd. (“LG”) for $25 million.

26          16.     On July 23, 2013, the Court granted final approval of a fifth settlement with

27   defendants Toshiba Corporation, Toshiba America Information Systems, Inc., Toshiba America

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 1   Consumer Products, L.L.C., and Toshiba America Electronic Components, Inc. (“Toshiba”) for

 2   $13.5 million.

 3          17.       On July 22, 2015, the Court granted final approval of the sixth and seventh

 4   settlements with: (1) Defendants Hitachi, Ltd.; Hitachi Displays, Ltd. (n/k/a Japan Display Inc.)

 5   (“Hitachi Displays”); Hitachi America, Ltd.; Hitachi Asia, Ltd.; Hitachi Electronic Devices (USA)

 6   Inc. (collectively, “Hitachi”) ($13,450,000); and (2) Defendants Samsung SDI Co. Ltd. (f/k/a

 7   Samsung Display Devices Co., Ltd.); Samsung SDI America, Inc.; Samsung SDI Brasil, Ltd.;

 8   Tianjin Samsung SDI Co., Ltd.; Samsung Shenzhen SDI Co., Ltd.; SDI Malaysia Sdn. Bhd.; SDI

 9   Mexico S.A. de C.V. (collectively, “Samsung SDI”) ($33,000,000).

10          18.       In the seven previous settlements, the Court certified a Settlement Class, appointed

11   Saveri & Saveri, Inc. as Settlement Class Counsel, and found that the manner and form of

12   providing notice of the settlements to class members was the best notice practicable under the

13   circumstances (see Dkt. Nos. 1412, 1508, 1621, 1791, 2311, 2534), and the Court entered final

14   judgments of dismissal with respect to the settling (and released) defendants (see Dkt. Nos. 1413,

15   1414, 1509, 1510, 1622, 1792, 3932, 3933);

16          19.       CRTs are defined to mean Cathode Ray Tubes of any type (e.g., color display tubes

17   and color picture tubes). CRT Finished Products are those products that when finished contain

18   Cathode Ray Tubes—such as televisions and computer monitors. CRT Products means CRTs

19   and/or CRT Finished Products.

20          20.       The Settlement between Plaintiffs and Thomson resolves all claims related to CRT

21   Products (i.e., CRTs and CRT Finished Products) brought by Plaintiffs against Thomson and

22   entities that are defined in the Settlement Agreement to be “Thomson Releasees.”

23          21.       No notices of intent to appear at the fairness hearing were filed.

24          22.       I participated in settlement negotiations with Thomson. The Settlement is the

25   product of arm’s-length negotiation by informed and experienced counsel. The Settlement was

26   reached after the parties engaged in face-to-face negotiations as well as numerous telephone and

27   email discussions. The negotiations were thorough and hard fought. They were contested and

28   conducted at arm’s-length in the utmost good faith.
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 1          23.     In exchange for dismissal with prejudice and a release of all claims asserted in the

 2   FAC, Thomson has agreed to pay $9,750,000 in cash to settle all direct purchaser claims against it.

 3   The funds have been deposited into a guaranteed escrow account pursuant to the Settlement

 4   Agreement.

 5          24.     Thomson’s sales remain in the case for the purpose of computing Plaintiffs’ claims

 6   against the remaining defendant.

 7          25.     Thomson has agreed to cooperate with Plaintiffs in the prosecution of this action by:

 8   (1) providing copies of all discovery (including, inter alia, all documents, interrogatories, requests

 9   for admission, etc.) Thomson produces to any other party in the Action; (2) providing a declaration

10   and/or custodian establishing the authenticity of Thomson’s transactional data, and foundation of

11   any Thomson document or data needed at summary judgment or trial; (3) allowing Counsel to

12   question percipient witnesses noticed for deposition by any other party in the Action with whom

13   Thomson has not settled; and (4) using its best efforts to make available two persons for trial

14   testimony, each of whom is, at the time of trial, a director, officer, and/or employee of Thomson

15   whom Lead Counsel reasonably believes to have knowledge regarding Plaintiffs’ claims.

16          26.     It is my opinion that the Settlement is, in every aspect, fair, adequate and reasonable

17   and in the best interest of the class members. My opinion is based, among other things, on my

18   participation in virtually every aspect of this case, my review of all of the important evidence

19   obtained to date and my experience in many other class action antitrust cases.

20          27.     The transactional data produced so far indicates that the Settlement Class contains

21   thousands of members dispersed across the country who directly purchased CRT Products from the

22   Settling Defendants and their co-conspirators from March 1, 1995 through November 25, 2007.

23          28.     The notice program is nearly the same as the one approved by the Court on May 3,

24   2012 (Chunghwa and Philips settlements), on August 27, 2012 (Panasonic settlement), on

25   November 13, 2012 (LG Settlement), on March 18, 2013 (Toshiba settlement), on January 8, 2014

26   (Hitachi settlement), and on April 14, 2014 (Samsung SDI) namely direct notice to class members

27   whose addresses can be reasonably obtained along with publication once in the national edition of

28   the Wall Street Journal, together with appropriate listings on the Internet. The only significant
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 1   difference is that the Thomson summary notice was also published in the New York Times. This

 2   notice program is similar to that employed in the direct purchaser DRAM, SRAM and LCD class

 3   actions.

 4          29.     The plan of allocation is the same procedure as approved by the Court on May 3,

 5   2012 in connection with the CPT and Philips settlements, on August 27, 2012 in connection with

 6   the Panasonic settlement, on November 13, 2012 in connection with LG Settlement, on March 18,

 7   2013 in connection with the Toshiba settlement, on January 8, 2014 in connection with the Hitachi

 8   settlement, and on April 14, 2014 in connection with the Samsung SDI settlement.

 9          30.     Plaintiffs’ plan of allocation is as follows: Each Settlement Class member’s pro rata

10   share of the Settlement Fund will be determined by computing each valid claimant’s total CRT

11   purchases divided by the total valid CRT purchases claimed. This percentage is multiplied against

12   the Net Settlement Fund (total settlements minus all costs, attorneys’ fees, and expenses) to

13   determine each claimant’s pro rata share of the Settlement Fund. To determine each class

14   member’s CRT purchases, CRT tubes (CPTs/CDTs) are calculated at full value while televisions

15   are valued at 50% and computer monitors are valued at 75%. This approach is very similar to that

16   approved by Judge Illston in the LCD litigation.

17        I declare under the penalty of perjury under the laws of the United States of America that the

18   foregoing is true and correct.

19        Executed on October 2, 2015 in San Francisco, California.

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                                                                  /s/ R. Alexander Saveri
21                                                                  R. Alexander Saveri
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